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            IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF OKLAHOMA

       1. ANTHONY RAMOND BEHAR,                         )
       2. AMY ELIZABETH BEHAR,                          )
                                                        )
                  Plaintiffs,                           )
                                                        )
  v.                                                    ) Case No.:
                                                        ) 18-cv-184-JED-FHM
                                                        )
    1. STATE FARM FIRE AND CASUALTY                     )
       COMPANY, a foreign for profit insurance          )
       corporation,                                     )
                                                        )
                 Defendant.                             )

                                      COMPLAINT

                                         A. Parties

       1.    Plaintiffs, Anthony Ramond Behar and Amy Elizabeth Behar, are each

 citizens of the State of Oklahoma.

       2.    Defendant, State Farm Fire and Casualty Company, is a foreign for-profit

 insurance corporation, incorporated and organized under the laws of the State of

 Illinois.

       3.    The principal place of business for Defendant, State Farm Fire and Casualty

 Company, is Bloomington, Illinois.

       4.    The Defendant, State Farm Fire and Casualty Company, is licensed to

 conduct business in the State of Oklahoma and may be served with process through

 the Oklahoma Department of Insurance.
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     5.     This action is not related to any other case filed in this court.

                                       B. Jurisdiction

     6.     The court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332

 because there is diversity between the parties and the amount in controversy

 exceeds $75,000.00, exclusive of interest and costs.

                                           C. Facts

     7.     At all times material hereto, the Plaintiffs, Anthony Ramond Behar and

  Amy Elizabeth Behar, owned a home located at 24205 N. 3962 Road, in

  Bartlesville, Oklahoma, which was insured under the terms and conditions of an

  insurance policy, policy number 36-C1-2049-0, issued by the Defendant, State

  Farm Fire and Casualty Company.

    8.      At all times material hereto, the Plaintiffs, Anthony Ramond Behar and

  Amy Elizabeth Behar, complied with the terms and conditions of their insurance

  policy.

    9.       On or about April 4, 2017, the Plaintiffs’ home sustained damage as a

  result of a hail storm. These damages are covered pursuant to the terms and

  conditions of Plaintiffs’ insurance policy.

   10.      Hail is a covered peril and the damages sustained by Plaintiffs are not

  limited or excluded pursuant to the terms and conditions of Plaintiffs’ insurance

  policy.
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                           D. Count I: Breach of Contract

    11.    Plaintiffs, Anthony Ramond Behar and Amy Elizabeth Behar, hereby

  assert, allege and incorporate paragraphs 1-10 herein.

    12.    The property insurance policy, policy number 36-C1-2049-0, issued by

  Defendant, State Farm Fire and Casualty Company, was in effect on April 4, 2017.

    13.    Subsequent to the loss, Plaintiffs timely submitted a claim to Defendant

  (Claim No.360748Q02).

     14.   The acts and omissions of Defendant, State Farm Fire and Casualty

  Company, in the investigation, evaluation, and denial of Plaintiffs’ claim were

  unreasonable and constitute a breach of contract for which contractual damages are

  hereby sought. Defendant’s breach of contract includes, but is not limited to, the

  improper denial of Plaintiffs’ claim and the failure to pay for covered damage to

  the Plaintiffs’ home, including the Plaintiffs’ hail damaged roofing system.

  Defendant, State Farm Fire and Casualty Company, improperly and unreasonably

  denied Plaintiffs’ claim when the above mentioned loss was covered pursuant to

  the terms and conditions of the policy purchased by Plaintiffs. Defendant’s

  investigation, evaluation, and denial of Plaintiffs’ claim were unreasonable, outside

  of insurance industry standards, and based upon an unreasonable inspection which

  failed to consider the covered hail damage to Plaintiffs’ roofing system. During

  this inspection, Defendant’s adjuster intentionally ignored and disregarded obvious
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  hail damage to Plaintiffs’ shingles and failed to consider the hail damage to

  Plaintiffs’ roof as a whole. This unreasonable, bad faith investigation resulted in an

  unreasonable denial of payment to Plaintiffs for their covered hail damages.

                                E. Count II: Bad Faith

     15.    Plaintiffs, Anthony Ramond Behar and Amy Elizabeth Behar, hereby

  assert, allege and incorporate paragraphs 1-14 herein.

     16.   The acts and omissions of Defendant, State Farm Fire and Casualty

  Company, in the investigation, evaluation, and denial of Plaintiffs’ claim were

  unreasonable and constitute bad faith for which extra-contractual damages are

  hereby sought. Defendant unreasonably and in bad faith failed to pay for covered

  damage to the Plaintiffs’ home, including Plaintiffs’ obviously hail damaged

  roofing system. Defendant conducted an improper and unreasonable claim

  investigation, evaluation, and adjustment which resulted in an unreasonable denial

  of payment for Plaintiffs’ covered loss. Defendant’s investigation, evaluation, and

  denial of Plaintiffs’ claim were unreasonable, outside of insurance industry

  standards, and based upon an unreasonable inspection which failed to consider the

  covered hail damage to Plaintiffs’ roofing system. During this inspection,

  Defendant’s adjuster intentionally ignored and disregarded obvious hail damage to

  Plaintiffs’ shingles and failed to consider the hail damage to Plaintiffs’ roof as a

  whole. This unreasonable, bad faith investigation resulted in an unreasonable
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  denial of payment to Plaintiffs for their covered hail damages.

     17.    Defendant’s unreasonable, bad faith conduct includes, but is not limited

  to, an unreasonable claim investigation, evaluation, and adjustment which resulted

  in an improper denial of coverage for Plaintiffs’ covered loss.

                                  F. Punitive Damages

     18.    Plaintiffs, Anthony Ramond Behar and Amy Elizabeth Behar, hereby

  assert, allege and incorporate paragraphs 1-17 herein.

     19.    The unreasonable conduct of the Defendant, State Farm Fire and Casualty

  Company, in the handling of Plaintiffs’ claim was intentional, willful, wanton and

  was committed with a reckless disregard for the rights of the Plaintiffs, Anthony

  Ramond Behar and Amy Elizabeth Behar, for which punitive damages are hereby

  sought.

                               G. Demand for Jury Trial

     20.    Plaintiffs, Anthony Ramond Behar and Amy Elizabeth Behar, hereby

  request that the matters set forth herein be determined by a jury of their peers.

                                       H. Prayer

     21.    Having properly pled, Plaintiffs, Anthony Ramond Behar and Amy

  Elizabeth Behar, hereby seek contractual, bad faith and punitive damages against

  the Defendant, State Farm Fire and Casualty Company, together in an amount in

  excess of $75,000.00; including costs, interest and attorney fees.
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                                     Respectfully submitted,

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